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14                           IN THE UNITED STATES DISTRICT COURT
15
16                        FOR THE EASTERN DISTRICT OF CALIFORNIA
17
18   UNITED STATES OF AMERICA,           )                Case No. 2:11-CR-190 MCE
19                                       )
20               Plaintiff,              )                STIPULATION FOR CONTINUANCE
21                                       )                OF STATUS CONFERENCE AND
22                                       )                ORDER
23               v.                      )
24                                       )
25   NICHOLS RAMIREZ and TIFFANY         )
26   BROWN,                              )
27                                       )
28         Defendants.                   )
29   ____________________________________)
30
31          It is stipulated between the United States Attorney’s Office for the Eastern District of
32   California by Assistant United States Attorney Jason Hitt, Esq. and Defendant Nichols Ramirez
33   through his attorney Philip Cozens, Esq., and Defendant Tiffany Brown through her attorney
34   Dina Santos that:
35          The Status Conference currently scheduled for September 13, 2018 at 10:00 a.m. in
36   Judge England’s Court be re-scheduled for October 11, 2018 at 10:00 a.m. in Judge England’s
37   Court. The stipulated continuance is necessary because Defendant Nichols Ramirez’s attorney
38   requires additional time to review the discovery in this matter and negotiate with the
39   Government.



     STIPULATION RE STATUS CONFERENCE AND ORDER                                                 Page 1
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 1          Time should be excluded for defense attorney preparation pursuant to Local Code T4
 2   and the ends of justice outweigh the Defendant’s and the public’s interest in a speedy trial.
 3   Time should be excluded from speedy trial calculations from April 27, 2018 through and
 4   including October 11, 2018.
 5          It is so stipulated.
 6   Dated: September 11, 2018                     /s/ Jason Hitt, Esq.____________
 7                                                 Jason Hitt, Esq.
 8                                                 Assistant United States Attorney
 9                                                 Eastern District of California
10
11
12   /s/ Dina Santos                               /s/ Philip Cozens_________________
13   Dina Santos                                   Philip Cozens
14   Attorney for Defendant                        Attorney for Defendant
15   Tiffany Brown                                 Nichols Ramirez
16                                               ORDER
17          The court, having read and considered the above-stipulation and finding good cause
18   therefore, orders that the Status Conference currently scheduled for September 13, 2018 at
19   10:00 a.m. in Judge England’s Court be re-scheduled for October 11, 2018 at 10:00 a.m. in
20   Judge England’s Court. Time is excluded for defense attorney preparation pursuant to Local
21   Code T4 and the court finds the ends of justice outweigh the Defendant’s and the public’s
22   interest in a speedy trial. Time will be excluded from speedy trial calculations from September
23   13, 2018 through and including October 11, 2018.
24          IT IS SO ORDERED.
25   Dated: September 12, 2018
26
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     STIPULATION RE STATUS CONFERENCE AND ORDER                                                 Page 2
